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3                                        EXHIBIT E

4                         EXPENSE DETAIL FOR THE PERIOD
                          JULY 1, 2019 THROUGH JULY 31, 2019
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   PG&E Corporation and Pacific Gas and Electric Company
                                Deloitte & Touche LLP
            Expenses Sorted by Category for the Fee Period
                                      July 01, 2019 - July 31, 2019




Category                 Date            Description                                           Amount



Airfare
                                         Roundtrip coach airfare from Atlanta, GA to San
 Giamanco, Patrick       07/02/2019                                                           $624.77
                                         Francisco, CA.
                                         Roundtrip coach airfare from Spokane, WA to Salt
 Donahue, Nona           07/08/2019                                                           $404.47
                                         Lake City, UT.
 Donahue, Nona           07/12/2019      Airline change fee.                                  $200.00
                                         Roundtrip coach airfare from Phoenix, AZ to San
 Nkinzingabo, Rudy       07/21/2019                                                           $318.84
                                         Francisco, CA.
Subtotal for Airfare:                                                                        $1,548.08


Hotel
                                         1 night hotel accommodation at Hyatt Regency in
 Giamanco, Patrick       07/09/2019                                                           $406.71
                                         San Francisco, CA.
                                         1 night hotel accommodation at Hyatt Regency in
 Giamanco, Patrick       07/10/2019                                                           $406.71
                                         San Francisco, CA.
                                         1 night hotel accommodation at Park Central in
 Nkinzingabo, Rudy       07/16/2019                                                           $348.17
                                         San Francisco, CA.
                                         1 night hotel accommodation at Hyatt Regency in
 Cochran, James          07/17/2019                                                           $383.46
                                         San Francisco, CA.
                                         1 night hotel accommodation at Le Meridien in
 Giamanco, Patrick       07/17/2019                                                           $338.99
                                         San Francisco, CA.
                                         1 night hotel accommodation at Westin in San
 Nkinzingabo, Rudy       07/17/2019                                                           $377.43
                                         Francisco, CA.
                                         1 night hotel accommodation at Westin in San
 Nkinzingabo, Rudy       07/18/2019                                                           $377.43
                                         Francisco, CA.
Subtotal for Hotel:                                                                          $2,638.90
Total                                                                                        $4,186.98




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PG&E Corporation and Pacific Gas and Electric Company
                      Deloitte & Touche LLP
    Expenses Sorted by Category for the Fee Period
                          July 01, 2019 - July 31, 2019




                            Recapitulation
   Category                                                            Amount

   Hotel                                                             $2,638.90

   Airfare                                                           $1,548.08




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